Case 2:05-cr-20009-.]PI\/| Document 72 Filed 07/19/05 Page 1 of 2 Page|D 63

UNITED sTATEs DISTRICT CouRT F"-ED BY - D'C-
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Western Division 05 JUL |g PH w la

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UNITED sTATEs oF AMERICA W;'DU@§ riggin
-vs- Case No. 2:05cr20009-001B

JAMES FRANK SEM()RA

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING' PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
MONDAY, JULY 18, 2005 at3:00 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North
Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United
States Marshal and produced for the hearing

Date: July 15, 2005 /-'r“” l
1 //FW/f/tr @»-

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

]If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofticer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 4?0 (8.'85) Order of Ternporary Detenlion

Thls document entered on the docket sheet in compliance
With Flule 55 and/or 32(h) FHCrP on “ 0 " 0

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Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:05-CR-20009 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

ENNESSEE

 

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Honorable J. Breen
US DISTRICT COURT

